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                                        March 21, 2014

                         Expert Report of Shelby F. Thames, Ph.D.


                     Prepared for In re: The Matter of Ethicon, Inc.
                    Pelvic Repair System Products Liability Litigation
                       Jo Huskey (2:12-cv-05201) vs. Ethicon etal.
                    Tonya Edwards (2:12-cv-09972) vs. Ethicon etal.

   All of my opinions herein are stated to a reasonable degree of scientific/professional
   certainty and probability.

   I have been asked to do the following:

      •   Address the issues of polypropylene (PR) as a material for use in the human
          body, its suitability for in vivo use considering its chemical and physical
          properties, propensity for degradation, material strength and viability, as well as
          longevity.
      •   Determine whether Ethicon appropriately tested laser cutting versus mechanical
          cutting of the mesh.
      •   Determine if laser cutting compromises the integrity of the mesh.

   A copy of my Curriculum Vitae is attached as Appendix A. A list of the cases in which I
   have testified within the past four years is attached as Appendix B, and the materials I
   reviewed and/or relied upon in connection with the preparation of this report are listed in
   Appendix C. I am being compensated for my work in this matter at a rate of
   $375.00/hour.

   Ethicon's TVT device made from PR is suitable for its intended use. Polypropylene has
   been used in medical devices for decades, and for good reason.1,2,3 It is a polymeric
   species of the propylene monomer and is a durable, thermoplastic polymer composed
   of carbon and hydrogen. PP offers mechanical properties of durability and elasticity and
   is the lightest major plastic with a density of 0.905 g/ml and the crystallizability of
   isotactic polypropylene makes it the polymer of choice for properties of commercial
   interest.4.

   The monomer propylene (CH2=CH­CH3) shown in Figure 1 when polymerized, gives
   polypropylene: a polymeric species (many monomers) where many monomers are
   attached through carbon to carbon bonds, Figure 2,6 The process of combining
   monomers together to form larger molecules is termed polymerization.            Stated
   differently, a polypropylene polymer is a chain of propylene monomers linked together.
   Changes in process conditions and catalyst can lead to production of three
   configurations of polypropylene, and in the current instance isotactic PP (iPP). The
   isotactic form of PP possesses the configuration wherein the side­chain, or pendant ­
   CHs (methyl) groups are aligned on the same loci of each tetrahedral carbon atom

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                                            EXHIBIT A
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   Tonya Edwards Explant Analysis

   I have been unable to physically and chemically examine the Tonya Edwards explant
   due to the destructive and compromising methodology used by plaintiffs
   representatives in handling the sample(s). There was no explant distribution or sample
   splitting made available to the defendants. The entire sample was maintained by
   plaintiff's counsel and their experts. The explant sample(s) has been physically and
   chemically altered irreversibly in such a way that prohibits me from observing, testing,
   and evaluating the explant in its condition and state at explantation. Accordingly, I
   cannot not reach reliable, scientifically valid conclusions via attempting to evaluate the
   explant in its present state.

   The Prolene explant, a hydrocarbon iPP mesh explanted from Ms. Edwards, was
   immediately placed in formalin, after surgical removal, for fixation and preservation.
   The explanted mesh remained in this state for several months at which time it was
   delivered by Plaintiffs attorneys to Dr. Vladimir lakovlev, a pathologist.

   Dr. lakovlev retained the explant from approximately May 2013 to February 28, 2014 at
   which time its parts were received by defendant's experts. Dr. lakovlev apparently
   embedded the entirety of the mesh in two paraffin blocks and sectioned each block.
   Consequently, there was no un­adulterated or otherwise "pristine explant" to provide
   defendant's experts for evaluation. I was able to view the explant as noted in Figure 13
   a) and b) below which shows the paraffin encased explant blocks along with slides
   sectioned from the paraffin blocks. Moreover, the mesh was, in its entirety, covered
   with paraffin, a hydrocarbon wax, melting at approximately 56 0C (133 0F).




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      •   It is my opinion that the LC/MS analytical data presented in the Jordi Report is
          unreliable in establishing the concentration/efficacy of Ethicon's antioxidants and
          should be disregarded in its entirety.
      •   LC and MC are acceptable cutting techniques for Ethicon PP mesh devices. The
          testing of LC v. MC was adequate, well documented, and was performed
          appropriately. LC does not adversely affect the performance and properties of
          PP device(s).
      •   I have not seen definitive FTIR data from the work of Ethicon, the Jordi reports,
          or my work confirming oxidation or degradation of Ethicon's IPP.
      •   The Jordi report also mentions 24 explant samples evaluated. I do not know
          how the explants were selected, from what pool of people, the selection method
          or general condition of the explants when they were received by the plaintiffs
          experts. Accordingly, I am prohibited from reaching valid, scientific conclusions.
      •   Because no explant was available in the Huskey litigation, I cannot render
          scientific opinions as to its condition.
      •   I am prohibited from providing any reliable, scientific opinions regarding the
          condition of the Edwards explant due to the condition and destructive testing of
          the explant by the plaintiffs' experts prior to our receipt of same.

   I reserve the right to supplement this report and analysis, create additional exhibits as
   necessary to illustrate my testimony based upon the receipt of additional information,
   documents and materials, and to revise this report following the receipt of additional
   information and/or materials that have not yet been made available, as well as the
   availability of any additional eye witnesses to the incident and the events that occurred
   immediately thereafter.




   Shelby F. Thames, Ph. D.



   Instrumentation

   FTIR



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